Case 4:23-cv-00630 Document 33-1 Filed on 04/05/23 in TXSD Page 1 of 3




                        EXHIBIT A-1
         8                                                   7                                                   6
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     NOTES:                                                                                                                                                                       ITEM QTY     PART No.         DRAWING                    TITLE                           DESCRIPTION                        MATERIAL                       THICKNESS               WIDTH                LENGTH
                                                                                                                                                                                    1    1 10699-CS3411           Yes   AIG PIPING                             WELDMENT
     1. DESIGN CONDITIONS:                                                                                                                                                          2    2 10699-CS3413-01         No   INSTRUMENT TUBING                      1/2" X 0.035" WALL                         304 SS                                                                        2 13/16 in
        TEMPERATURE: 900F                                                                                                                                                           3    1 10699-CS3413-02         No   GAUGE/MANIFOLD SUPPORT                 11 Ga SHEET                                304 SS                                 1/8 in           11 21/32 in            12 3/8 in
        PRESSURE: 5 PSI(G)
                                                                                                                                                                                    4   16 FW075304                     FLAT WASHER                            3/4                                        304 SS
        CORROSION ALLOWANCE: 0 031”
        CODE: ASME B31.1 - 2014 POWER PIPING                                                                                                                                        5    8 HN07510A1948M                HEX NUT                                3/4-10 UNC - 2B                      ASTM A194 GRADE 8M
                                                                                                                                                                                    6    8 LW075304                     LOCK WASHER                            3/4 - REGULAR                              304 SS
     2. ALL PIPE WELDING SHALL BE IN ACCORDANCE WITH ASME B31.1-2014 POWER PIPING                                                                                                   7    2 SCR-LM1510-01           No   FLEXITALLIC LSI SPIRAL-WOUND GASKET    4" NPS #300                                304 SS
     3. ALL WELDS AND WELD JOINTS, INCLUDING FILLET WELDS, SHALL CONFORM TO ASME BOILER AND PRESSURE VESSEL CODE.                                                                                                       WITH FLEXICARB FILLER MATERIALS
D    4. ALL WELDS SHALL BE INSPECTED AND TESTED IN ACCORDANCE WITH ASME B31.1-2014 POWER PIPING.                                                                                    8       1   SCR-LM1510-02     Yes   ORIFICE FLANGE PLATE                   4" NPS #300                                  304 SS                               1/8 in              7 1/8 in            11 1/8 in      D
     5. BUTT WELDS FOR ALL SIZES REQUIRE 100% MT OR PT.
                                                                                                                                                                                    9       2   SCR-LM1510-08           HEX PLUG                               1/2" NPT SWAGELOK SS-8-P                     316 SS
     6. ALL WELD BRANCH CONNECTIONS 100% RT OR UT
     7. IN LIEU OF VOLUMETRIC EXAMINATION (RT,UT) OF WELDED BRANCH CONNECTIONS WHEN REQUIRED, SURFACE                                                                              10       8   SCR-LM1510-09           HEX BOLT                               3/4-10 UNC - 5 1/4"LG                    ASTM A193 Gr. B8
        EXAMINATION (PT,MT) IS ACCEPTABLE AND WHEN USED, SHALL BE PERFORMED AT THE LESSER OF ONE-HALF OF THE WELD                                                                  11       2   SCR-LM1510-10           PIPE NIPPLE SWAGELOK SS-8-HLN-4.00     1/2" SCH 40 X 4" LG                          316 SS
        THICKNESS OR EACH ½” OF WELD THICKNESS AND ALL ACCESSIBLE FINAL WELD SURFACES.                                                                                             12       1   SCR-LM1521        Yes   4" FLEX PIPE                           WELDMENT
     8. ALL FILLET AND SEAL WELDS REQUIRE 100% PT OR MT INSPECTION.                                                                                                                13       2   SCR-LM1800-02           FEMALE ELBOW                           SWAGELOK SS-810-8-8 1/2" OD TUBE                 Generic
     9. ALL WELDS 100% VISUAL EXAMINATION                                                                                                                                                                                                                      X 1/2" FEMALE NPT
     10. ALL ELBOWS TO CONFORM TO B16.9                                                                                                                                            14       2   SCR-LM1800-03               SWAGELOK TUBE FITTING SS-600-1-4   1/2" TUBE OD x 1/2" MALE NPT                       316 SS
     11. HYDROSTATIC TEST @ 9 PSI(G) IS REQUIRED. THE WATER SHALL BE NON-CORROSIVE WITH A CHLORIDE CONTENT LIMITED TO
                                                                                                                                                                                   15       1   SCR-LM2001            Yes   COOLING TOWER                      3 VALVE MANIFOLD & DP GAUGE
          50 PPM AND TEMPERATURE SHALL BE >/=70°F (21°C) AND <100°F (38°C).
     12. ENSURE ALL AMMONIA SUPPLY PIPING WELDMENT IS THOROUGHLY CLEANED INSIDE AND FREE OF DEBRIS AND WELD
          SPATTER/SUGAR. MASK ALL OPENINGS TO PREVENT DIRT BUILD UP/CONTAMINATION.
     13. DECIMAL VALUES ARE SHOWN WITH DECIMAL TOLERANCE VALUES:
          DECIMAL PLACES 0.X = 0.1 TOLERANCES APPLIED
                         0.XX = 0.05
                          0.XXX = 0.010
          FRACTIONAL AND ANGULAR VALUES ARE SHOWN WITH FRACTIONAL OR ANGULAR TOLERANCE VALUE:
          FRACTIONS = 1/6
         ANGLES = 1°
     14. ALL FLANGE HOLES STRADDLE CENTER LINE.
     15. PIPE LENGTHS IN BOM ARE FOR REFERENCE ONLY.
                                                                                                                                                                                                                                                                                           12       15
     16. HOLD CENTER TO CENTER PIPE DIMENSIONS AND FLANGE TO FLANGE DISTANCES.
     17. ALL LINEAR DIMENSION TOLERANCE IS 1/16".
C        ALL ANGULAR DIMENSION TOLERANCE IS 1°.                                                                                                                                                                                                                                                              8                                                                                         C
                                                                                                                                                                                                                                                                                                    3
     18. TAG AND PACKAGE FOR SHIPMENT.
     19. ESTIMATED TOTAL WEIGHT IN LBS: 158



                                                                                                                                                                                                                                                                                  14
                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                       2


                                                                                                                                                                                                                                                                                           13
                                                                                                                                                             36 7/16" (REF)
                                                                                                                                                                                                                                11 1/8"
                                           B                                                                                                                                            B
                                                                                                                                                               A
                                                                                                                                                                                                                15
                                                                                                                                  15
                                                                                                                                                                                                                                                                                                    ISO VIEW




B                                                                                                                                                                                                                                         3                                                                                                                                                             B
                                 17 1/2"                                                                                                                                                                                                              8
                                                                                                                                  8


                                                                                  12                                                                                                                                                                           12 3/8"
                                                                                                             4                         10    4   5   6                                                                                                    1
                                                                                                                                                                              1

                                                                                                                                                                                                                 14

                                                                                                                                                                                                                2
                                                                                                                                                                                        FLOW

                                                                                                                                                                                                                     13
                                                                                                                                                                                                                                  11
                                                                                                                                            13 HIGH PRESSURE CONNECTION
                                                                                LOW PRESSURE CONNECTION 13

                                                                                                                     7        7
                                                                                                                                                                                                                                    9"

                                                                                                                                                               A                                                                                                                                                All information contained within this drawing is the exclusive property of
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A                                                                                                                                                                                                                                                                                                                                                                                                       A
                                                                                                                                                                                                                                                                                                                  AIG ORIFICE PIPE SPOOL
                                                                                                                                                                                                                                                                  THIRD ANGLE PROJECTION                                               ASSEMBLY
                                                                                                                                                                                                                                                                                                DRAWN               MM 2016-11-10              DRAWING No.                                        REV
                                                                                                                                                                                                                                                                                                CHECKED            CRD 2016-11-29
     A           ISSUED FOR FABRICATION         MM       2016-11-10     CRD          HB           HB                                                                                                                                                                                            ENGINEERING HB 2016-11-29
                                                                                                                                                                                                                                                                                                                                               10699-CS3413                                       A
                                                                                                                                                                                                                                                                   DO NOT SCALE DRAWING
    REV               DESCRIPTION                BY        DATE       CHECKED    ENGINEERING   APPROVED                                                                                                                                                                                         APPROVED            HB 2016-11-29                                                SHEET 1 OF 2
           8                                                 7                                                   6                                                 5                    4                                                     3                                            2                                                                              1
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                                                         33-1 Filed on 04/05/23
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                                                                                                          11 1/8"
D           30"                            36 1/4"                                                                                                                                                                                   D


                        3/8" GASKETS &
                           ORIFICE PL                                                                         8 3/8"




                                                                                                                       3




                                                                                                                                          12 3/8"




                                   15


C                                                                                                                                                                                                                                    C

                  VIEW B-B


                                                                                                               9"


                                                                                                           SECTION A-A
                                                                                                          GAUGE/MANIFOLD
                                                                                                          SUPPORT DETAIL




B                                                                                                                                                                                                                                    B




                                                                                                                                             All information contained within this drawing is the exclusive property of
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A                                                                                                                                                                                                                                    A
                                                                                                                                               AIG ORIFICE PIPE SPOOL
                                                                                                                                                                    ASSEMBLY
                                                                                                                               DRAWN            MM 2016-11-10               DRAWING No.                                        REV
                                                                                                                               CHECKED         CRD 2016-11-29
                                                                                                                               ENGINEERING HB 2016-11-29
                                                                                                                                                                            10699-CS3413                                       A
                                                                                                                               APPROVED          HB 2016-11-29                                                SHEET 2 OF 2
    8   7              6                             5                      4                         3                    2                                                                           1
